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 14
                      IN THE UNITED STATES DISTRICT COURT
 15
            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 16
 17 PINN, INC.,                                Case No. 8:19-cv-1805-DOC-JDE
                           Plaintiff,
 18                                            DEFENDANT APPLE INC.’S
 19        v.                                  SECOND MOTION FOR
                                               JUDGMENT AS A MATTER OF
 20 APPLE INC.,                                LAW UNDER RULE 50(A)
 21                        Defendant.
                                                  Trial Date:   August 2, 2022
 22                                               Time:         8:30 a.m.
 23                                               Courtroom:    10 A
                                                  Judge:        Hon. David O. Carter
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                             DEFENDANT APPLE INC.’S SECOND MOTION FOR
                         JUDGMENT AS A MATTER OF LAW UNDER RULE 50(A)
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  1         Pursuant to Federal Rule of Civil Procedure 50(a), Defendant Apple Inc.
  2   (“Apple”) hereby moves for judgment as a matter of law (“JMOL”) that claim 10 of
  3   U.S. Patent No. 10,455,066 (“the ’066 Patent”) and claim 25 of U.S. Patent No.
  4   10,609,198 (“the ’198 Patent”) (collectively “the Asserted Patents” and “the Asserted
  5   Claims”) are not entitled to an effective filing date of April 3, 2015, when Plaintiff
  6   Pinn, Inc. (“Pinn”) filed its first provisional patent application; that the Asserted
  7   Claims are invalid as obvious; and that claim 10 of the ’066 Patent is invalid because
  8   Sean Kim is not the sole inventor. This motion supplements Apple’s previous JMOL
  9   motion (Dkt. No. 624) now that Apple has presented its case.
 10         “Rule 50(a) permits a federal court to direct entry of judgment as a matter of
 11   law when after ‘a party has been fully heard on an issue’ ‘the court finds that a
 12   reasonable jury would not have a legally sufficient evidentiary basis to find for the
 13   party on that issue.’ Fed. R. Civ. P. 50(a). The court must enter a directed verdict
 14   when ‘there is no substantial evidence to support the claim.’” Elliott v. Versa CIC,
 15   L.P., 2019 WL 414499, at *5 (S.D. Cal. 2019) (granting JMOL and citing Rutledge
 16   v. Elec. Hose & Rubber Co., 511 F.2d 668, 677 (9th Cir. 1975)). JMOL may be
 17   granted in favor of a party with the burden of proof. E.g., Asyst Techs., Inc. v. Empak,
 18   Inc., No. C 98-20451JF, 2007 WL 2255220 (N.D. Cal. Aug. 3, 2007) (granting JMOL
 19   of obviousness), aff’d sub nom. Asyst Techs., Inc. v. Emtrak, Inc., 544 F.3d 1310 (Fed.
 20   Cir. 2008)
 21         No Priority: Apple has proven by clear and convincing evidence that the
 22   Asserted Claims are not entitled to an effective filing date of April 3, 2015. See, e.g.,
 23   35 U.S.C. § 112(a); Federal Circuit Bar Association Model Jury Instructions, B.4.2a;
 24   Ariad Pharms. Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1344-46 (Fed. Cir. 2010);
 25   Takeda Pharm. Co. v. Zydus Pharms. USA, Inc., 743 F.3d 1359, 1369 (Fed. Cir. 2014);
 26   Warner-Lambert Co. v. Teva Pharm. USA, Inc., 418 F.3d 1326, 1337 (Fed. Cir. 2005).
 27         At trial, Apple proved the Asserted Claims are not entitled to an effective filing
 28   date of April 3, 2015 because they lack written description support in Pinn’s
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  1   provisional patent application. Dr. Wells demonstrated the provisional discloses a
  2   relay system where the “main body” has first and second wireless modules and serves
  3   as a relay between the phone and earbuds. By contrast, the Asserted Claims recite a
  4   direct connection between the phone and earbuds. Pinn’s expert Dr. Nettles also
  5   admitted the provisional discloses a relay system where the “main body” has first and
  6   second wireless modules and serves as a relay between the phone and earbuds. Dr.
  7   Wells also demonstrated the Pinn provisional fails to disclose a button and computer
  8   program instructions that initiate pairing the earbud to the phone. Dr. Nettles also
  9   admitted the provisional discloses a button that pairs the personal wireless media
 10   station, not the earbud, to the phone. Thus, there is no substantial evidence that the
 11   Asserted Claims are entitled to priority. See Lockwood v. American Airlines, Inc., 107
 12   F.3d 1565, 1571-72 (1997) (“Entitlement to a filing date does not extend to subject
 13   matter which is not disclosed, but would be obvious over what is expressly disclosed.
 14   It extends only to that which is disclosed.”).
 15         Pinn has introduced no substantial evidence to the contrary, making judgement
 16   as a matter of law in Apple’s favor appropriate.
 17         Obviousness: Apple has proven by clear and convincing evidence that the
 18   Asserted Claims are invalid as obvious. See, e.g., Federal Circuit Bar Association
 19   Model Jury Instructions, B.4.3c; Ivera Med. Corp. v. Hospira, Inc., 801 F.3d 1336,
 20   1344 (Fed. Cir. 2015); Ruiz v. A.B. Chance Co., 234 F.3d 654, 662-63 (Fed. Cir. 2000);
 21   Brown & Williamson Tobacco Corp. v. Philip Morris, Inc., 229 F.3d 1120, 1129 (Fed.
 22   Cir. 2000).
 23         If the Court rules in Apple’s favor on priority, Pinn has essentially conceded
 24   that the Asserted Claims are obvious over Watson. In addition, Pinn concedes the
 25   Apple iPhone Bluetooth Headset is prior art, and Apple has established that it also
 26   renders the Asserted Claims obvious.        To the extent required, Apple has also
 27   demonstrated that it would be obvious to combine Watson or Bluetooth Headset with
 28   secondary references, such as Lydon (which discloses a button on the base station),
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  1   Kalayjian (which discloses “find my”), and the Watson patent filed in 2014 disclosing
  2   the use of “find my” with AirPods.
  3         A person of ordinary skill would be motivated to combine these references
  4   because all relate to Apple and iPhones and because they disclose logical
  5   enhancements to the primary references. In other words, a person having ordinary
  6   skill in the art would have been motivated to combine the teachings of prior art
  7   references to achieve the subject matter of one or more of the asserted claims, and
  8   would have had a reasonable expectation of success in doing so.
  9         In addition, the secondary considerations relating to the claimed subject matter,
 10   including of the commercial failure of the Pinn product, lack of nexus to the success
 11   of the Accused Products, teaching away, and no copying, do not support or suggest
 12   the non-obviousness of the asserted claims.
 13         Pinn has introduced no substantial evidence to the contrary, making judgement
 14   as a matter of law in Apple’s favor appropriate.
 15         Improper Inventorship: Apple has proven by clear and convincing evidence
 16   that Pinn improperly deleted Jason Stone, Vincent Pascual, Lawson Fisher, and
 17   Devjeet Mishra of Speck Design as named inventors of the ’066 patent, making the
 18   Asserted Claim of the ’066 patent invalid. See 35 U.S.C. § 115(a); 35 U.S.C. § 101;
 19   MPEP 2157.
 20         Apple demonstrated that each of these individuals signed an oath that they were
 21   inventors and that they were deleted after the claims were final (i.e., after final
 22   amendments and allowance). The testimony of Vincent Pascual, Lawson Fisher,
 23   Devjeet Mishra, Sean Kim, and Mincheol Kim also demonstrated these individuals
 24   contributed to the ’066 patent, including the figures, the pogo connectors, and the
 25   claimed “integrated body.” They were also deleted without being consulted.
 26         Pinn has introduced no substantial evidence to the contrary, making judgement
 27   as a matter of law in Apple’s favor appropriate.
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  1         Conclusion: For the reasons stated above, this Court should grant judgment as
  2   a matter of law of no priority, obviousness, improper inventorship under Rule 50(a).
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